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16                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
17
                                     SAN FRANCISCO DIVISION
18

19   ABBY LINEBERRY and MIGUEL                    CASE NO.: 3:23-cv-01996-VC
     CORDERO, individually and on behalf of all
20                                                DEFENDANT ADDSHOPPERS, INC.’S
     others similarly situated,
                                                  RESPONSE TO PLAINTIFFS’
21
                    Plaintiffs,                   ADMINISTRATIVE MOTION TO
22
                                                  CONSIDER WHETHER ANOTHER
                                                  PARTY’S MATERIAL SHOULD BE
            vs.                                   SEALED
23

24   ADDSHOPPERS, INC. and PEET’S COFFEE,
     INC.,
25
                  Defendants.
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     LINEBERRY, ET AL. V. ADDSHOPPERS, INC., ET AL. (3:23-CV-01996-VC)              1
     ADDSHOPPERS’ RESPONSE TO PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER
     ANOTHER PARTY’S MATERIAL SHOULD BE SEALED
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1    I.     INTRODUCTION
2           Pursuant to Civil L.R. 7-11 and 79-5, and the Court’s Civil Standing Order ¶¶ 28-34,
3    Defendant AddShoppers, Inc. (“AddShoppers”) responds to Plaintiff’s Administrative Motion
4    To Consider Whether Another Party’s Material Should Be Sealed (Dkt. No. 209). 1
5           As they did with their initial moving and reply papers, Plaintiffs recently submitted
6    discovery in support of their supplemental brief that is not cited by any party in connection with
7    the pending motions. Previously, they filed nearly 1,000 pages of deposition transcripts that no
8    party cited. See Dkt. Nos. 161 & 182. Now, they have filed AddShoppers’ interrogatory
9    responses that no party cited. See Dkt. No. 209-3 (Plaintiffs’ Ex. 52). Plaintiffs’ practice of
10   filing uncited and irrelevant discovery is improper and appears designed to harass AddShoppers.
11          Accordingly, AddShoppers respectfully requests the Court keep under seal AddShoppers’
12   uncited interrogatory responses 2 until and unless they become pertinent to an issue before the
13   Court. 3 AddShoppers further requests the Court admonition Plaintiffs to take steps to avoid
14   filing uncited deposition testimony and discovery responses going forward, especially when the
15   testimony and responses have been marked “confidential.”
16   II.    LEGAL STANDARD
17          Motions to seal documents relating to class certification are subject to the “compelling
18   reasons” standard. Adtrader, Inc. v. Google LLC, 2020 U.S. Dist. LEXIS 206823, *4-5 (N.D.
19   Cal. 2020) (citing Ctr. For Auto Safety v. Chrysler Grp., LLC, 809 F. 3d 1092, 1101-02 (9th Cir.
20   2016) and collecting cases). Under this standard, a record may be sealed when it “might be used
21   to ‘gratify private spite or promote public scandal,’ ….’” Ctr. For Auto Safety, 809 F. 3d at 1097
22   (quoting Nixon v. Warner Commnc’ns Inc., 435 U.S. 589, 598-99 (1978)).
23   //
24

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26   1
       AddShoppers incorporates by reference its Responses to Plaintiffs’ prior Administrative
27   Motions to Consider Whether Another Party’s Material Should Be Sealed, along with the
     supporting declarations and exhibits. (Dkt. Nos. 161 & 182.)
     2
28     Specifically, interrogatory responses numbers 16 and 18.
     3
       At the Court’s direction, AddShoppers will file a redacted version of the interrogatory
     responses.
     LINEBERRY, ET AL. V. ADDSHOPPERS, INC., ET AL. (3:23-CV-01996-VC)              2
     ADDSHOPPERS’ RESPONSE TO PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER
     ANOTHER PARTY’S MATERIAL SHOULD BE SEALED
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1    III.   ARGUMENT
2           A.      Uncited Interrogatory Responses Should Remain Under Seal
3           In their supplemental brief, Plaintiffs cite to AddShoppers’ interrogatory responses 17
4    and 19. See Dkt. No. 208 at fns. 2 & 3. Yet, having cited just two responses, they inexplicably
5    filed AddShoppers’ responses to Plaintiffs’ entire second set of interrogatories. See Dkt. No.
6    209-3 (Plaintiffs’ Ex. 52). These uncited responses – which include compensation amounts
7    AddShoppers received from one of its clients – are not cited or otherwise referenced in
8    Plaintiffs’ supplemental brief. Indeed, they have no relevance to the question of class
9    certification (or any other issue pending before the Court).
10          The strong presumption of access to court records is “based on the need for federal courts
11   … to have a measure of accountability and for the public to have confidence in the
12   administration of justice.” Ctr. For Auto Safety, 809 F. 3d at 1096 (quoting United States v.
13   Amodeo (Amodeo II), 71 F. 3d 1044, 1048 (2d Cir. 1995)). In short, open records ensure the
14   public can review the evidence that courts rely on in making their decisions. But that noble
15   purpose is not present here where none of the parties rely upon or cite the evidence in question.
16   As a rule, materials that are uncovered during pretrial discovery and not admitted into evidence
17   are ordinarily not within the scope of public access. See Seattle Times Co. v. Rhinehart, 467 US
18   20, 33 (1984) (pretrial depositions and interrogatories “are not public components of a civil
19   trial”); SEC v. TheStreet.Com, 273 F. 3d 222, 229 (2nd Cir. 2001) (deposition testimony not a
20   “judicial document” open to the public).
21          Here, the uncited interrogatory responses are extraneous to the Court’s determination of
22   the underlying issue—namely, Plaintiffs’ motion for class certification—and thus not entitled to
23   the presumption of public access. See AV Builder Corp. v. Houston Cas. Co., 2022 U.S. Dist.
24
     LEXIS 108378, *15-18 (S.D. Cal. Mar. 22, 2022) (sealing documents “not necessary for the
25
     resolution of the [summary judgment] motions and [] not relied upon by the court”).
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     LINEBERRY, ET AL. V. ADDSHOPPERS, INC., ET AL. (3:23-CV-01996-VC)              3
     ADDSHOPPERS’ RESPONSE TO PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER
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             Case 3:23-cv-01996-VC         Document 212       Filed 04/25/25     Page 4 of 4




1            Accordingly, AddShoppers requests the Court keep its uncited interrogatory responses
2    under seal. 4
3    IV.     CONCLUSION
4            For these reasons, AddShoppers requests the Court grant its request to seal and enter the
5    Proposed Order filed contemporaneously herewith.
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                                                  Respectfully submitted,
7
     DATED: April 25, 2025                        WOMBLE BOND DICKINSON (US) LLP
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10                                                By:   s/ R. Travis Campbell
                                                         R. Travis Campbell
11                                                       Attorneys for Defendant AddShoppers, Inc.
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     4
      AddShoppers makes this request without prejudice to the Court unsealing the responses if they
     become relevant in future proceedings in this case.
     LINEBERRY, ET AL. V. ADDSHOPPERS, INC., ET AL. (3:23-CV-01996-VC)              4
     ADDSHOPPERS’ RESPONSE TO PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER
     ANOTHER PARTY’S MATERIAL SHOULD BE SEALED
